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AO 458 (Rev. 06/09) Appearance of Counsel

UNITED STATES DISTRICT oe

 

for the
____SsCs UNITED STATES of AMERICA —~t—=éi*dé
Plainff )
v. ) Case No. 1:21-cr-00488-CRC a
NOAH S. BACON )
Defendant )
: APPEARANCE OF COUNSEL a

To: The clerk of court and all parties of record
Tam admitted or otherwise authorized to practice in this court, and I appear in this case counsel fon
Noah S. Bacon AS CO-COUNSEL
Date: 02/08/2023 ae vs a
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